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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 19-CV-10061-MOORE/LOUIS


  DAVID MARCINIAK AND
  LISA MARCINIAK,

         Plaintiffs,

  v.


  WRIGHT NATIONAL FLOOD INSURANCE
  COMPANY,

        Defendant.
  ______________________________________/

                                                ORDER

         THIS CAUSE came before the Court on Plaintiffs’ Counsel’s Motion to Withdraw (ECF

  No. 37). This Motion was referred to the undersigned United States Magistrate Judge by the

  Honorable Chief Judge, K. Michael Moore (ECF No. 38). Upon consideration of the briefing and

  the record, and being otherwise fully advised in the premises, the undersigned finds that the Motion

  should be GRANTED.

         Florida Bar Rule 4-1.16 allows an attorney to withdraw from representing a client in certain

  circumstances, including where “withdrawal can be accomplished without material adverse effect

  on the interests of the client . . . or other good cause for withdrawal exists.” R. Regulating Fla. Bar

  4-1.16(b). However, the United States District Court for the Southern District of Florida Local

  Rule 11.1(D)(3) makes clear that “[n]o attorney shall withdraw the attorney’s appearance in any

  action or proceeding except by leave of court after notice served on the attorney’s client and

  opposing counsel.” Here, Plaintiffs’ counsel has shown that good cause exists for withdrawing as


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  counsel based on Plaintiffs’ refusal to cooperate in the execution of the settlement agreement and

  general release evidencing the terms of the mediated settlement. Furthermore, the Court finds that

  neither of the Parties will be prejudiced by the withdrawal as the case has already been dismissed

  with prejudice (ECF No. 36) and Plaintiffs are able to execute the settlement agreement and release

  in exchange for an agreed upon sum without the aid of counsel.

         Therefore, the Motion is GRANTED. Counsel for Plaintiffs, Barry J. Marcus, Esq. and the

  Law Firm of Glantz & Glantz, P.A., are hereby relieved of all further responsibility as to the

  Plaintiffs in this action. Any and all further pleadings and correspondence shall be sent to the

  Plaintiffs at the following address: P. O. Box 500701, Marathon, FL 33050, and/or email

  addresses: lisa.marciniak@westcare.com; DMarciniak@reyesholdings.com.

         DONE and ORDERED in Chambers in Miami, Florida, this 29th day of December, 2020.




                                                       HON. LAUREN LOUIS
                                                       UNITED STATES MAGISTRATE JUDGE




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